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United States Bankruptcy Court
District of Nevada

Inre _KAREEN YEUNG LANDERVILLE Case No. 24-11627- A6L

Debtor(s) Chapter 7

AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
SCHEDULE F / VERIFICATION OF MATRIX / MATRIX

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Date: May 16, 2024 /s/ David Mincin

David Mincin 5427

Attorney for Debtor(s)

MINCIN LAW, PLLC

7465 W. Lake Mead Boulevard, #100
Las Vegas, NV 89128

702-852-1957 Fax:N/A
dmincin@mincinlaw.com
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Debtor 1 KAREEN YEUNG LANDERVILLE

First Name Middie Name Last Name
Debtor 2 i
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: | DISTRICT OF NEVADA

Case number 24-11627
(if known) Hi Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known)... .... . wen

[GERER List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

No. Go to Part 2.
O Yes.

Tt List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

OI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Ba Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. lf more
than one creditor holds a particular claim, list the other,creditors in, Part 3:If you have more.than three nonpriority unsecured claims fill out the Continuation Page of

Part 2. . ¥
“ aes Total claim
ANTHEM BLUE CROSS AND BLUE “'~. . - :
44 SHIELD = .,,, Last 4 digits of accountnumber 8391 . $1,210.90
Nonpriority Creditor's Name. .
P.O. BOX #6112 2s =, When was the debt incurred?
Indianapolis, IN 46206-6112
Number Street City State Zip Code ‘ **" As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only / oO Contingent
CZ Debtor 2 only OO unliquidated
O Debtor 1 and Debtor 2 only ~~ Oo Disputed
C1 At least one of the debtors and another " ” Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EE no © at OO Debis'to pension or profit-sharing plans, and other similar debts —
O yes Ml other. Specity BUSINESS DEBT
Official Form 106 E/F Schedile E/F: Creditors Who Have Unsecured Claims Page 1 of 3

52847
Case 24-11627-abl

Debtor1 KAREEN YEUNG LANDERVILLE

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Case number (if known) 24-11627

LABORATORY CORPORATION OF .

4.2 AMERICA Last 4 digits of account number 4344 $1,636.65
Nonpriority Creditor's Name
P.O. BOX #2240 When was the debt incurred?
Burlington, NC 27216-2240
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only O contingent
OD Debtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt CZ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims :
BNno DO Debts to pension or profit-sharing plans, and other similar debts
0 Yes HH other. Specify MEDICAL
SELECT PHYSICAL THERAPY /
4.3 DIGNITY HEALTH . Last 4 digits of account number 0786 $1,278.00
Nonpriority Creditor's Name
400 TECHNOLOGY DRIVE, #240 When was the debt incurred?
Canonsburg, PA 15317
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH debtor 1 only CO Contingent
O Debtor 2 only O Unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no O Debts to pension or profit-sharing plans, and other similar debts
O Yes other. Specify MEDICAL
44 SPARKLETTS & SIERRA SPRINGS Last 4 digits of accountnumber 6508 $3.99

Nonpriority Creditor's Name
200 EAGLES LANDING
BOULEVARD oye
Lakeland, FL 33810...

Number Street City State Zip Code
Who incurred the debt? Check one.

BB debtor 1 only

O Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

CO Check if this claim is for a community
debt

Is the claim subject to offset?

HB no
0 Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent

O Unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:
C1 student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

MH other. Specity BUSINESS EXPENSE

GECEHEM List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 4 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 KAREEN YEUNG LANDERVILLE

Name and Address

DIGNITY HEALTH
P.O. BOX #644717

Case number (if known) 24-11627

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.3 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

Pittsburgh, PA 15264-4717

Last 4 digits of account number

WW Part 2: Creditors with Nonpriority Unsecured Claims

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types
type of unsecured claim.

Total
claims
from Part 1

Total
claims
from Part 2

Official Form 106 E/F

6a.

6b.
6c.
6d.

6e.

6f.

6g.
6h.

6i.

gj.

Domestic support obligations * :- 6a.

Taxes and certain other debts you owe the government 6b.

Claims for death or personal injury while you were intoxicated 6c.

Other. Add all other priority unsecured claims. Write that amount here. 6d.

Total Priority. Add lines 6a through 6d. 6e.
ii .

Student loans . 6f.

Obligations arising out of a separation agreement or divorce that

you did not report as priority claims 6g.
Debts to pension or profit-sharing plans, and other similar debts 6h.
Other. Add all other nonpriority-unsecured claims. Write that amount 6i.
here. :

Total Nonpriority. Add lines 6f through 6i. gj.

Schedule E/F: Creditors Who Have Unsecured Claims

Total Claim '

0.00

0.00

0.00

0.00

0.00

Total Claim

0.00

0.00

0.00

4,129.54

4,129.54

-of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

Page 3 of 3
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Debtor 1 KAREEN YEUNG LANDERVILLE

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © DISTRICT OF NEVADA

Case number 24-11627

(if known)

Hi Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/5

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No

Ol Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.
X Isi KAREEN YEUNG “anpervire? DO X

KAREEN YEUNG LANDERVILLE Signature of Debtor 2
Signature of Debtor 1

Date May 16, 2024 Date

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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United States Bankruptcy Court
District of Nevada

Inre _KAREEN YEUNG LANDERVILLE Case No. 24-11627

Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX - AMENDED

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

Date: May 16, 2024 /s| KAREEN YEUNG LANDERVILLE PyX~—

KAREEN YEUNG LANDERVILLE
Signature of Debtor
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ANTHEM BLUE CROSS AND BLUE SHIELD
P.O. BOX #6112
Indianapolis, IN 46206-6112

DIGNITY HEALTH
P.O. BOX #644717
Pittsburgh, PA 15264-4717

LABORATORY CORPORATION OF AMERICA
P.O. BOX #2240
Burlington, NC 27216-2240

SELECT PHYSICAL THERAPY / DIGNITY HEALTH
400 TECHNOLOGY DRIVE, #240
Canonsburg, PA 15317

SPARKLETTS & SIERRA SPRINGS
200, EAGLES LANDING BOULEVARD
Lakeland, FL 33810
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CERTIFICATE OF SERVICE
Pursuant to Fed.R.Bank.P. 2002 and LR 2002, I certify that Iam an employee of Mincin
fe
Law, PLLC, and on the | 7 day of May, 2024, service of a true and correct copy of the
AMENDMENT COVER SHEET; AMENDED SCHEDULE F; VERIFICATION OF MATRIX;

and MATRIX was made by:

MAIL SERVICE: By placing same to be depositing for mailing in the United States Mail

in Las Vegas, Nevada, with which first class postage was fully prepaid and was addressed to the
parties as listed.

Anthem Blue Cross And Blue Shield Dignity Health

P.O. Box #6112 P.O. Box #644717

Indianapolis, IN 46206-6112 Pittsburgh, PA 15264-4717

Laboratory Corporation Of America Select Physical Therapy / Dignity Health
P.O. Box #2240 400 Technology Drive, #240

Burlington, NC 27216-2240 Canonsburg, PA 15317

Sparletts & Sierra Springs
200 Eagles Landing Boulevard
Lakeland, FL 33810

So
I further certify that on the | 7 day of May, 2024, service of a true and correct copy of
the AMENDMENT COVER SHEET; AMENDED SCHEDULE F; VERIFICATION OF

MATRIX; and MATRIX was made by:

ECF SERVICE: That service was made by electronic transmission through the ECF filing
system of the U.S. Bankruptcy Court, District of Nevada to the parties as listed below: and/or

BRIAN D. SHAPIRO brian@trusteeshapiro.com, nv22@ecfcbis.com;
kristin@trusteeshapiro.com;carolyn@brianshapirolaw.com

U.S. TRUSTEE - LV -7 TAL mn

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ANTHEM BLUE CROSS AND BLUE SHIELD
P.O. BOX #6112
Indianapolis, IN 46206-6112

DIGNITY HEALTH
P.O. BOX #644717
Pittsburgh, PA 15264-4717

LABORATORY CORPORATION OF AMERICA
P.O. BOX #2240
Burlington, NC 27216-2240

SELECT PHYSICAL THERAPY / DIGNITY HEALTH
400 TECHNOLOGY DRIVE, #240
Canonsburg, PA 15317

SPARKLETTS & STERRA SPRINGS
200, EAGLES LANDING BOULEVARD
Lakeland, FL 33810
